






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00292-CV






Alejandro Perez and Bobbie Perez, Appellants




v.




Embree Construction Group, Inc., Appellee







FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT


NO. A-01-1086-C, HONORABLE THOMAS J. GOSSETT, JUDGE PRESIDING 



				



M E M O R A N D U M   O P I N I O N




	Because this appeal has presented ongoing problems in securing a complete record,
we will abate this appeal. (1)  Appellants have filed a motion to supplement the clerk's record and court
reporter's record, by which they assert they have examined the record filed to date and it does not
comply with their designation.  See Tex. R. App. P. 34.5(c), .6.  After approximately thirty days, we
have received no response to this motion.  We grant the motion and direct that the record be
supplemented in accordance with appellants' motion.  We abate the appeal until March 1, 2006, at
which time the appeal is reinstated.  Appellants' brief is due thirty days from the reinstatement.



					__________________________________________

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear


Abated


Filed:   December 22, 2005
1.        We have previously overruled the court reporter's late challenge to the trial court's
determination of indigency.


